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                         IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 In re:                                                      *

 MIDNIGHT MADNESS DISTILLING, LLC,                           *       Case No. 21-11750-MDC
                                                                     Chapter 11
                             Debtor.                         *

 *        *         *        *         *       *     *       *   *       *     *      *      *

        ORDER GRANTING MOTION OF MILLSTONE SPIRITS GROUP, LLC TO
           ENFORCE SALE ORDER AND COMPEL TURNOVER OF FUNDS
          ERRONEOUSLY SENT TO CRUTCH, LLC BY THE PENNSYLVANIA
                        LIQUOR CONTROL BOARD

          Upon consideration of the Motion of Millstone Spirits Group, LLC to Enforce Terms of

 Sale Order and Compel Turnover of Funds Erroneously Sent to Crutch, LLC by the

 Pennsylvania Liquor Control Board (the “Motion”), any response to the Motion, and this Court

 having found sufficient cause to grant the relief requested in the Motion, it is hereby

          ORDERED, that the funds deposited into the Penn Community Bank account held in the

 name of Crutch, LLC in the amount of $20,407.20 (the “PLCB Funds”) are property of Millstone

 Spirits Group, LLC; and it is further

          ORDERED, that Penn Community Bank shall remit the PLCB Funds in Crutch, LLC’s

 account at Penn Community Bank to Millstone Spirits Group, LLC within three (3) business

 days from entry of this Order; and it is further

          ORDERED, that Crutch, LLC or anyone acting on its behalf, shall remit to Millstone

 Spirits Group, LLC any portion of the PLCB Funds that have been removed or withdrawn from

 the Crutch, LLC account at Penn Community Bank, within three (3) business days from entry of

 this Order.




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                                                     BY THE COURT:


   Date 10/4/2023
                                                     _________________________________
                                                     MAGDELINE D. COLEMAN
                                                     CHIEF U.S. BANKRUPTCY JUDGE




                                                END OF ORDER




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